Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 1 of 8



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.

 CARLOS J. CASTILLO GONZALEZ and
 MACK NASCIMENTO,

        Plaintiffs,

 vs.


 B & K CONTRACTOR SERVICES, INC.,
 a Florida for-profit corporation; and
 LEONOARDO GOMEZ, individually,

        Defendants.
  ____________________________________/

                          COMPLAINT AND JURY TRIAL DEMAND

        Plaintiffs CARLOS J. CASTILLO GONZALEZ (“GONZALEZ”) and MACK

 NASCIMENTO (“NASCIMENTO”), through undersigned counsel, sue Defendants B & K

 CONTRACTOR SERVICES, INC., a Florida for-profit corporation (“B&K”), and LEONARDO

 GOMEZ, individually (“GOMEZ”), and allege as follows:

        1.      This is an action for unlawful failure to pay overtime compensation as required by

 the federal Fair Labor Standards Act, 29 U.S.C. §207(a) (“FLSA”), and its implementing

 regulations.

        2.      This Court has jurisdiction over this case based on federal question jurisdiction,

 28 U.S.C. §1331, and the provisions of the FLSA, 29 U.S.C. §216(b).

        3.      Venue is proper in this Court as all actions complained of herein occurred in the

 Southern District of Florida.
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 2 of 8



        4.      Plaintiffs at all relevant times were, and still are, residents of Miami-Dade

 County, Florida, and are sui juris.

        5.      Defendant B&K is, and at all relevant times was, a Florida for-profit corporation

 authorized to do business, and doing business in Miami-Dade County, Florida. B&K is, and at

 all relevant times was, a licensed Florida general contractor providing construction related

 services in Florida and that used, purchased, and sold materials and goods in interstate

 commerce, and had annual gross revenues in excess of $500,000.00.

        6.      Upon information and belief, Defendant GOMEZ is, and at all relevant times has

 been, a resident of Miami-Dade County, Florida, and is sui juris. At all relevant times, GOMEZ

 was and still is an owner, operator, and the President of B&K, was and still is an agent of B&K,

 acted in the course and scope of his employment and agency as owner, operator, and the

 President of B&K with regard to Plaintiffs, and oversaw, supervised, and controlled the day-to-

 day operations of B&K.

        7.      At all relevant times B&K was and still is an “employer” under the FLSA for

 purposes of enterprise coverage in that it was an enterprise that had two or more employees

 handling, selling, or otherwise working on goods or materials that have been moved in or

 produced for commerce by any person, and had gross annual revenues of not less than

 $500,000.00. In addition, GOMEZ was at all relevant times, and still is, a statutory “employer”

 under the FLSA in that he acted, directly or indirectly, on behalf of B&K in relation to Plaintiff,

 and regularly exercised authority to hire and fire employees of B&K, determined the work

 schedules of employees of B&K, set the rates of pay and compensation for employees of B&K,

 controlled the finances and operations of B&K, and oversaw, supervised, and controlled the day-

 to-day operations of B&K.



                                                 2
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 3 of 8



        8.      At all times during their employment with Defendants, Plaintiffs were non-

 exempt employees performing construction-related work who regularly worked over 40 hours in

 one or more work weeks.

        9.      Plaintiff GONZALEZ was employed by Defendants as a “helper” at a rate of

 $15.00 per hour from on or about November 6, 2017 for about 4 months or until March 2018

 when he was promoted to the position of “laborer” at a rate of $17.50 per hour until July 20,

 2018, when he was terminated. During this time period, Plaintiff commenced work being paid at

 $15.00 per hour for his services. In or about March 2018, until his termination, Plaintiff was

 paid $17.50 per hour for his services.

        10.     Plaintiff NASCIMENTO was employed by Defendants as a ”helper” from on or

 about March 30, 2018 until on or about July 20, 2018, at an hourly rate of $15.00.

        11.     Throughout their respective periods of employment, Plaintiffs regularly worked

 more than 40 hours in one or more of the work weeks they worked.

        12.     While Plaintiffs kept and maintained some of their pay and time records, the

 complete records of the dates worked by, and the compensation actually paid to, Plaintiffs are

 currently in the possession, custody, and control of Defendants. Upon information and belief,

 however, Defendants have failed to keep and maintain all the required records of hours worked

 and wages paid per the record-keeping requirements of the FLSA, including the actual hours

 worked by Plaintiffs on a daily, weekly or monthly basis.

        13.     All conditions precedent to the filing of this action have been satisfied, waived, or

 otherwise excused.

        14.     Plaintiff has hired the undersigned law firm to represent him in this case and has

 agreed to pay the firm a reasonable fee for its services.



                                                   3
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 4 of 8



            COUNT I – UNPAID OVERTIME VIOLATION OF FLSA (GONZALEZ)

           15.   Plaintiff GONZALEZ re-alleges paragraphs 1 through 14 as if set forth fully

 herein.

           16.   Under the FLSA, Defendants were obligated to pay GONZALEZ time and one-

 half of his regular hourly pay rate for all hours worked in excess of 40 hours per work week.

 GONZALEZ worked in excess of 40 hours per work week in one or more weeks – specifically

 working Mondays through Fridays every week and also all day on Saturdays -- was paid on an

 hourly basis and was not paid the extra time and one-half his regular hourly rate for any of the

 overtime hours he worked, as required by the FLSA.

           17.   Defendants issued paychecks to GONZALEZ for his regular hours worked up to

 40 in each of his work weeks that he worked. For the extra overtime hours GONZALEZ worked

 each week, in particular the Saturdays he worked, Defendants would pay him in cash, but only at

 the straight time hourly rates. Defendants failed and refused to pay GONZALEZ the extra half-

 time for each overtime hour he worked, violation of the FLSA overtime requirements of 29

 U.S.C. §207(a).

           18.   As a direct and proximate result of Defendants’ violations of the FLSA,

 GONZALEZ has suffered damages equal to the extra one-half his regular hourly rates for all

 hours he worked in excess of 40 in each work week, plus double that amount in liquidated

 damages as provided by the FLSA.         GONZALEZ estimates on average that he worked

 approximately 8 hours of overtime each work week over the approximate 37 weeks during the

 period of his employment.      GONZALEZ estimates that, from the commencement of his

 employment on or about November 6, 2017 until March 2018, his extra half-time unpaid

 overtime compensation that he is owed is based on an overtime half-time rate of $7.50 per hour



                                                4
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 5 of 8



 for an estimated approximately 200 overtime hours. For the period of March 2018 through on or

 about July 20, 2018, GONZALEZ was not paid estimated overtime compensation based on an

 overtime half-time rate of $8.75 per hour for an estimated 220 overtime hours. GONZALEZ’s

 total estimated unpaid overtime compensation and damages is thus $3,425.00, plus liquidated

 damages of an equal amount as provided by the FLSA.

         19.      Defendants engaged in their overtime pay violations under the FLSA willfully,

 intentionally, and in reckless disregard of GONZALEZ’s rights under the law.

         20.      GONZALEZ is also entitled to recover his costs, expenses, and reasonable

 attorney’s fees under the FLSA.

         21.      At all relevant times, Defendants were aware that their non-exempt employees

 such as GONZALEZ were required to be paid time and one-half their regular hourly rate for all

 hours worked over 40 in a work week. Defendants were also fully aware that the FLSA imposed

 certain record keeping requirements on them as to keeping track of the time each employee

 worked each work day and each work week. Despite this knowledge, Defendants failed to

 comply with their FLSA record keeping obligations and failed to pay GONZALEZ all his

 overtime as required by the FLSA. Defendants thus acted willfully in connection with their

 failure and refusal to pay GONZALEZ fully for the overtime he worked, entitling GONZALEZ

 to recover full liquidated damages as provided by the FLSA.

         WHEREFORE, GONZALEZ demands judgment against Defendants, jointly and severally,

 for the following relief:

         1. A declaration that Defendants are in willful violation of the FLSA by failing to pay

               GONZALEZ all due overtime compensation;

         2. An award to GONZALEZ of all unpaid overtime as required under the FLSA,



                                                5
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 6 of 8



           3. An award to GONZALEZ of liquidated damages equal in amount to the unpaid

                 overtime award,

           4. An award to GONZALEZ of all costs, expenses, and reasonable attorney’s fees incurred

                 in this case, and

           5. Such further relief as the Court deems just and equitable.

       COUNT II – UNPAID OVERTIME VIOLATION OF FLSA (NASCIMENTO)

           22.       Plaintiff NASCIMENTO re-alleges paragraphs 1 through 14 as if set forth fully

 herein.

           23.       Under the FLSA, Defendants were obligated to pay NASCIMENTO time and

 one-half of his regular hourly pay rate for all hours worked in excess of 40 hours per work week.

 NASCIMENTO worked in excess of 40 hours per work week in one or more weeks –

 specifically working Mondays through Fridays every week and also all day on Saturdays -- was

 paid on an hourly basis and was not paid the extra time and one-half his regular hourly rate for

 any of the overtime hours he worked, as required by the FLSA.

           24.       Defendants issued paychecks to NASCIMENTO for his regular hours worked up

 to 40 in each of his work weeks that he worked. For the extra overtime hours NASCIMENTO

 worked each week, in particular the Saturdays he worked, Defendants would pay him in cash,

 but only at the straight time hourly rates. Defendants failed and refused to pay NASCIMENTO

 the extra half-time for each overtime hour he worked, violation of the FLSA overtime

 requirements of 29 U.S.C. §207(a).

           25.       As a direct and proximate result of Defendants’ violations of the FLSA,

 NASCIMENTO has suffered damages equal to the extra one-half his regular hourly rates for all

 hours he worked in excess of 40 in each work week, plus double that amount in liquidated



                                                     6
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 7 of 8



 damages as provided by the FLSA. NASCIMENTO estimates on average that he worked

 approximately 8 to 10 hours of overtime each work week over the approximate 16 weeks during

 the period of his employment. NASCIMENTO estimates that, from the commencement of his

 employment on or about May 30, 2017 until July 20, 2018, his extra half-time unpaid overtime

 compensation that he is owed is $1,200.00, based on an overtime half-time rate of $7.50 per hour

 for an estimated 160 overtime hours.       NASCIMENTO’s total estimated unpaid overtime

 compensation and damages is thus $960.00, plus liquidated damages of an equal amount as

 provided by the FLSA.

        26.    Defendants engaged in their overtime pay violations under the FLSA willfully,

 intentionally, and in reckless disregard of NASCIMENTO’s rights under the law.

        27.    NASCIMENTO is also entitled to recover his costs, expenses, and reasonable

 attorney’s fees under the FLSA.

        28.    At all relevant times, Defendants were aware that their non-exempt employees

 such as NASCIMENTO were required to be paid time and one-half their regular hourly rate for

 all hours worked over 40 in a work week. Defendants were also fully aware that the FLSA

 imposed certain record keeping requirements on them as to keeping track of the time each

 employee worked each work day and each work week. Despite this knowledge, Defendants

 failed to comply with their FLSA record keeping obligations and failed to pay NASCIMENTO

 all his overtime as required by the FLSA. Defendants thus acted willfully in connection with

 their failure and refusal to pay NASCIMENTO fully for the overtime he worked, entitling

 NASCIMENTO to recover full liquidated damages as provided by the FLSA.




                                                7
Case 1:18-cv-24656-CMA Document 1 Entered on FLSD Docket 11/06/2018 Page 8 of 8




                                  DEMAND FOR JURY TRIAL


       Plaintiff hereby demands trial by jury of all issues so triable.


       DATED: November 6, 2018.
 RODERICK V. HANNAH, ESQ., P.A.                         LAW OFFICE OF PELAYO
 Counsel for Plaintiffs                                 DURAN, P.A.
 8751 W. Broward Blvd., Suite 303                       Co-Counsel for Plaintiffs
 Plantation, FL 33324                                   4640 N.W. 7th Street
 T. 954/362-3800                                        Miami, FL 33126-2309
 954/362-3779 (Facsimile)                               T. 305/266-9780
 Email: rhannah@rhannahlaw.com                          305/269-8311 (Facsimile)
                                                        Email: pduran@pelayoduran.com

 By____s/ Roderick V. Hannah __                         By ___s/ Pelayo M. Duran ______
       RODERICK V. HANNAH                                     PELAYO M. DURAN
       Fla. Bar No. 435384                                    Fla. Bar No. 0146595




                                                   8
